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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA

PATRICK KNOX                                                       CIVIL ACTION NO. 16-CV-13350
                                                                           c/w 18-CV-6015
v.
BISSO MARINE, LLC                                                  SECTION M
                                                                   JUDGE BARRY W. ASHE

COASTAL TOWING, LLC                                                DIVISION 5
v.                                                                 MAGISTRATE MICHAEL B. NORTH
REC MARINE LOGISTICS, LLC et al                                    Pleading applies to 18-CV-6015



      ANSWER TO SECOND AMENDED AND SUPPLEMENTAL COMPLAINT OF BISSO MARINE, LLC
                      BY ATLANTIC SPECIALTY INSURANCE COMPANY

           Now into Court, through undersigned counsel, comes Atlantic Specialty Insurance Company

(sometimes referred to as “ASIC”), and for Answer to the Second Amended and Supplemental Complaint

of Bisso Marine, LLC, to the extent the allegations pertain to this defendant, with respect avers as

follows:


                                               First Defense


           The Second Amended and Supplemental Complaint fails to state a claim or right or cause of

action against this defendant.


                                             Second Defense


           The claims which are the subject of the Second Amended and Supplemental Complaint are

barred by prescription, laches or the applicable statute of limitations.


                                               Third Defense


           Now answering the specific allegations of the Second Amended and Supplemental Complaint, to

the extent the allegations pertain to this defendant, ASIC, with respect responds as follows:




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                                                     1.


        (a)     On information and belief, the allegations of paragraph 1 (a) are admitted.


        (b)     ASIC avers that it is without sufficient knowledge or information to form a belief as to

the truth of the allegations of paragraph 1 (b).


        (c)     ASIC admits it issued Policy Number B5JH9027513, that it is organized under the laws of

the State of New York and is admitted to do business in the State of Louisiana and can be served

through the Louisiana Secretary of State as set forth in paragraph ( c).


        (d)     ASIC avers that it is without sufficient knowledge or information to form a belief as to

the truth of the allegations of paragraph 1 (d).


        (e)     ASIC avers that it is without sufficient knowledge or information to form a belief as to

the truth of the allegations of paragraph 1 ( e).


        (f)     ASIC avers that it is without sufficient knowledge or information to form a belief as to

the truth of the allegations of paragraph 1 (f).


        (g)     ASIC avers that it is without sufficient knowledge or information to form a belief as to

the truth of the allegations of paragraph 1 (g).


                                                     2.


        The allegations of paragraph 2 state conclusions of law which require no response.


                                                     3.


        The allegations of paragraph 3 state conclusions of law which require no response.




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                                                    4.


        On information and belief, the allegations of paragraph 4 are admitted.


                                                    5.


        On information and belief, the allegations of paragraph 5 are admitted.


                                                    6.


        The Master Subcontractor’s Agreement (MSA) is a written agreement and is the best evidence

of its terms, conditions and contents and is hereby pled in extenso.


                                                    7.


        The Master Subcontractor’s Agreement (MSA) is a written agreement and is the best evidence

of its terms, conditions and contents and is hereby pled in extenso.


                                                    8.


        The Master Subcontractor’s Agreement (MSA) is a written agreement and is the best evidence

of its terms, conditions and contents and is hereby pled in extenso.


                                                    9.


        The Master Subcontractor’s Agreement (MSA) is a written agreement and is the best evidence

of its terms, conditions and contents and is hereby pled in extenso.


                                                   10.


        The insurance policy issued by ASIC is a written agreement and is the best evidence of its terms,

conditions and contents and is hereby pled in extenso. The remaining allegations of paragraph 10 of the




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Second Amended and Supplemental Complaint do not pertain to ASIC or its policy of insurance and ASIC

avers that it is without sufficient knowledge or information to form a belief as to those allegations as to

other underwriters.


                                                   11.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 11.


                                                   12.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 12.


                                                   13.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 13.


                                                   14.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 14.


                                                   15.


        The insurance policy issued by ASIC is a written agreement and is the best evidence of its terms,

conditions and contents and is hereby pled in extenso. Further, the allegations of paragraph 15 state

conclusions of law which require no response.




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                                                   16.


        The allegations of paragraph 16 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.


                                                   17.


        The allegations of paragraph 17 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.


                                                   18.


        The allegations of paragraph 18 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.


                                                   19.


        The insurance policy issued by ASIC is a written agreement and is the best evidence of its terms,

conditions and contents and is hereby pled in extenso. Further, the allegations of paragraph 19 state

conclusions of law which require no response.


                                                   20.


        The allegations of paragraph 20 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.




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                                                   21.


        The allegations of paragraph 21 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.


                                                   22.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 22.


                                                   23.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 23.


                                                   24.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 24.


                                                   25.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 25.


                                                   26.


        On information and belief, the allegations of paragraph 26 are admitted.




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                                                   27.


        On information and belief, the allegations of paragraph 27 are admitted.


                                                   28.


        The Master Time Charter Agreement (MTCA) is a written agreement and is the best evidence of

its terms, conditions and contents and is hereby pled in extenso.


                                                   29.


        On information and belief, the allegations of paragraph 29 are admitted.


                                                   30.


        The Master Time Charter Agreement (MTCA) is a written agreement and is the best evidence of

its terms, conditions and contents and is hereby pled in extenso.


                                                   31.


        The Master Time Charter Agreement (MTCA) is a written agreement and is the best evidence of

its terms, conditions and contents and is hereby pled in extenso.


                                                   32.


        On information and belief, the allegations of paragraph 32 are admitted.


                                                   33.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 33.




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                                                   34.


        The allegations of paragraph 34 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.


                                                   35.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 35.


                                                   36.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 36.


                                                   37.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 37.


                                                   38.


        The allegations of paragraph 38 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.


                                                   39.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 39.



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                                                   40.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 40.


                                                   41.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 41.


                                                   42.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 42.


                                                   43.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 43.


                                                   44.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 44.


                                                   45.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 45.




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                                                   46.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 46.


                                                   47.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 47.


                                                   48.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 48.


                                                   49.


        ASIC avers that the allegations of paragraph 49 of the Second Amended and Supplemental

Complaint do not require a response but should the Court so require, ASIC re-asserts and re-avers its

answers as set forth above as if copied here in extenso.


                                                   50.


        ASIC avers that it is without sufficient knowledge or information to form a belief as to the truth

of the allegations of paragraph 50.


                                                   51.


        The Master Subcontractor’s Agreement (MSA) is a written agreement and is the best evidence

of its terms, conditions and contents and is hereby pled in extenso. The insurance policy issued by ASIC




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is a written agreement and is the best evidence of its terms, conditions and contents and is hereby pled

in extenso. Further, the allegations of paragraph 51 state conclusions of law which require no response.


                                                   52.


        ASIC avers that the allegations of paragraph 52 of the Second Amended and Supplemental

Complaint do not require a response but should the Court so require, ASIC re-asserts and re-avers its

answers as set forth above as if copied here in extenso.


                                                   53.


        The Master Time Charter Agreement (MTCA) is a written agreement and is the best evidence of

its terms, conditions and contents and is hereby pled in extenso. ASIC further avers that the allegations

of paragraph 53 state conclusions of law which require no response.


                                                   54.


        The Master Time Charter Agreement (MTCA) is a written agreement and is the best evidence of

its terms, conditions and contents and is hereby pled in extenso. ASIC further avers that the allegations

of paragraph 54 state conclusions of law which require no response.


                                                   55.


        ASIC avers that the allegations of paragraph 55 of the Second Amended and Supplemental

Complaint do not require a response but should the Court so require, ASIC re-asserts and re-avers its

answers as set forth above as if copied here in extenso.




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                                                    56.


        Insofar as the allegation in paragraph 56 applies to ASIC, it is denied. To the extent the

allegations of paragraph 56 of the Second Amended and Supplemental Complaint do not pertain to ASIC

or its policy of insurance, ASIC avers that it is without sufficient knowledge or information to form a

belief as to those allegations as to other underwriters.


                                                    57.


        The insurance policy issued by ASIC is a written agreement and is the best evidence of its terms,

conditions and contents and is hereby pled in extenso. To the extent the allegations of paragraph 56 of

the Second Amended and Supplemental Complaint do not pertain to ASIC or its policy of insurance, ASIC

avers that it is without sufficient knowledge or information to form a belief as to those allegations as to

other underwriters.


                                                    58.


        The allegations of paragraph 58 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters. Further, the allegations of

paragraph 58 state conclusions of law which require no response.


                                                    59.


        The insurance policy issued by ASIC is a written agreement and is the best evidence of its terms,

conditions and contents and is hereby pled in extenso.




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                                                   60.


        ASIC avers that the allegations of paragraph 60 of the Second Amended and Supplemental

Complaint do not require a response but should the Court so require, ASIC re-asserts and re-avers its

answers as set forth above as if copied here in extenso.


                                                   61.


        The allegations of paragraph 61 state conclusions of law which require no response.


                                                   62.


        The allegations of paragraph 62 state conclusions of law which require no response.


                                                   63.


        The allegations of paragraph 63 state conclusions of law which require no response.


                                                   64.


        The allegations of paragraph 64 state conclusions of law which require no response.


                                                   65.


        The allegations of paragraph 64 state conclusions of law which require no response. To the

extent the allegations of paragraph 64 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance, ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.




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                                                   66.


        The allegations of paragraph 66 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.


                                                   67.


        The allegations of paragraph 67 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance and ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.


                                                   68.


        The allegations of paragraph 68 state conclusions of law which require no response. To the

extent the allegations of paragraph 68 of the Second Amended and Supplemental Complaint do not

pertain to ASIC or its policy of insurance, ASIC avers that it is without sufficient knowledge or

information to form a belief as to those allegations as to other underwriters.


                                             Fourth Defense


        The coverage and liability under ASIC policy is denied and derives from the written policy which

is the best evidence of its terms, conditions and contents and is hereby pled in extenso. Further, and to

the extent applicable herein, the terms and conditions of the written agreements of the MSA and the

MTCA are the best evidence of their terms, conditions and contents and are hereby pled in extenso.


                                              Fifth Defense


        On information and belief, Dawn Services entered into a Master Subcontactors Agreement

(MSA) with Bisso Marine Company. Dawn Services was not able to provide its own vessel pursuant to



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that agreement. In turn, Dawn Services then contracted with Coastal Towing and had it supply its

towing vessel, the TRENT JOSEPH, on which Patrick Knox was a crewmember. This provision of the

TRENT JOSEPH and her crew including Patrick Knox by Coastal Towing to Bisso was pursuant to the

Master Time Charter Agreement (MTCA) between Dawn Services and Coastal Towing.


       The terms and conditions of the MTCA required under “ARTICLE 6-OWNER’S INSURANCE”, sub-

paragraph A, that Coastal Towing, as Owner, agreed “….to procure and maintain in effect….the following

insurance coverages:


               2.      Protection and Indemnity Insurance, including…Contractual Liability coverage
                       for Charterer as additional insured, with limits not less than $1,000,000;

               3.      Excess Protection and Indemnity Insurance, or its equivalent, in the sum of not
                       less than $10,000,000 per occurrence…

       Further, under sub-paragraph B, “All deductibles under these insurances will be for the account
       Owner (Coastal Towing). All of these coverages….shall name Charterer Group as additional
       assured, with a waiver of subrogation rights; it is agreed, however, that such naming and
       waiving shall apply only with respect to the indemnity obligations and risks assumed by Owner
       (Coastal Towing) in this Agreement.

       “…To the extent Charterer Group is covered under these insurances, these insurances will be
       primary to any insurance procured by Charterer Group…”

       The terms and conditions of that same MTCA under “ARTICLE 8-INDEMNITIES” provided the

following “Definitions” under sub-paragraph A:


       1. “Claims” means…all claims, losses, demands, damages, suits, judgments,….liabilities, and
          expenses (including, without limitation, court costs, reasonable attorney fees and other
          defense costs), and causes of action of whatsoever nature or character, and also includes,
          without any limitation, any and all claims, losses and expenses for…bodily injury…or loss of
          services, wages, consortium or society.

       2. “Charterer Group” means, individually or collectively, Charterer…and its …customers, and
          other contractors and subcontractors…and the vessels…insurers…of all of the foregoing.


       3. “Owner Group” means, individually or collectively, Owner …and its…employees…”


       Under sub-paragraph B, the indemnity owed by Coastal Towing to the Charterer Group set forth


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as follows:


                 “Owner (Coastal Towing) releases and will defend and indemnify each member of the
                 Charterer Group from and against all claims for personal injury…of any member of the
                 Owner Group that arise out of or relate to the performance of subject matter of this
                 Agreement, or to the ingress, egress, loading or unloading of… personnel, whether
                 caused in whole or part by the negligence or fault of the Charterer Group, or by any
                 equipment or any vessel owned or operated by Charterer Group.”

                                         Sixth Defense


        Under the aforesaid terms and conditions of the MTCA, Coastal Towing owed defense and

indemnity for the personal injury claims, damages, losses liabilities and expenses, including court costs

and attorney fees and other defense costs for the injuries of Patrick Knox to Dawn Services and Bisso

Marine as members of the Charterer Group.


                                            Seventh Defense


        Under the aforesaid terms and conditions of the MTCA, Coastal Towing agreed to procure and

maintain in effect Protection and Indemnity Insurance including Contractual Liability coverage for Dawn

Services and Bisso Marine Company in the amount of not less than $11,000,000, primary and excess.

Further, Coastal Towing agreed to pay all deductibles, to name Dawn Services and Bisso Marine as

additional assureds, and to waive rights of subrogation against them. This insurance protection was to

be primary to any insurance procured by Dawn Services and Bisso Marine Company.


                                             Eighth Defense


        Under the terms and conditions of the policy issued by ASIC, plead herein, it contained a

SECTION II- EXCLUSIONS. Under the terms and conditions of that section of the policy issued by ASIC, it

specifically recited:




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                “Notwithstanding anything to the contrary contained in this policy, it is hereby
                understood and agreed that this policy is subject to the following exclusions and that
                this policy shall not apply to:

                19.    Any liability for any sum(s) which you are or are alleged to be liable with respect
                to any watercraft you…charter…and for which coverage either would or could be
                provided to you by the terms of:

                        a.       Protection and Indemnity Form SP-23, including Contractual Liability

                                 Coverage Extension;

                        c.       All extensions of coverage to the above referenced forms including, but
                                 not limited to, Additional Insured provisions;

                whether or not such coverages are in place.”

        Under these terms for the policy issued by ASIC, the charter of the watercraft TRENT JOSEPH

required Coastal Towing and its underwriters provide the insurance protection outlined hereinabove.

Accordingly, such coverage excludes coverage under the specific terms and condition of the ASIC policy.


                                             Ninth Defense


        Under the terms and conditions of the policy issued by ASIC, plead herein, it contained a

SECTION VII-CONDITIONS PRECEDENT TO COVERAGE. Under the terms and conditions of that section of

the policy issued by ASIC, it specifically required of Dawn Services that “In consideration of the reduced

premium charged, you agree that:


        4. You will:

            a. Preserve all rights against any and all:

                (1) Independent contractors and/or subcontractors

        ….all of which are referred to below as ‘entities’/

            b. Require the ‘entities” to maintain, in full force and effect, liability insurance, including
               coverage for all contractual liability you assume by written contract for the acts of
               your independent contractors and/or subcontractors, with limits at least equal to the
               limits of this policy… The ‘entities” shall require their insurer(s) to name you as an
               additional insured and shall waive all rights of subrogation against you and your
               principal. The liability insurance provided by the ‘entities” shall be endorsed to
               designate it to be primary to all other insurance issued in your favor and in favor of your


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               ‘principal’. For the purposes of this condition the ‘principal’ is defined as any party for
               whom you are performing work.

       5. Any and all vessels you…charter…shall be separately insured during the term of this policy to
          limits not less than $1,000,000 or hull value (whichever is greater) for protection and
          indemnity…Terms of such insurance shall not be less broad than those insured by:
              a. Protection and Indemnity Form SP-23, including Contractual Liability Coverage
                  Extension….”

       Under these terms for the policy issued by ASIC, Coastal Towing was an independent contractor

and/or subcontractor to Dawn Services and therefore Coastal Towing was the ‘entity” required to cover

all contractual liability assumed under the MSA with Bisso Marine by Dawn Services for the acts of

Coastal Towing. Further, Coastal Towing was required under these policy terms of ASIC to have

required their insurers name Dawn Services as an additional insured and to waive all rights of

subrogation in favor of Dawn Services and Bisso Marine as the ‘principal’. This insurance of Coastal

Towing was to be endorsed to be primary to all other insurance issued in favor of Dawn Services and

Bisso Marine. As such, alternatively, under these terms and conditions the policy of ASIC could never be

primary for the claims asserted herein against Bisso Marine and/or Dawn Services.


                                            Tenth Defense


       Under the terms and conditions of the policy issued by ASIC, plead herein, it contained a

SECTION VIII-GENERAL CONDITIONS. Under that section of the policy, it specifically recited in sub-

paragraph 11 entitled OTHER INSURANCE OR PROTECTION:


               “if the Insured is covered or protected under any indemnification agreement or under
               any insurance policy, regardless as to whether or not such indemnification agreement is
               enforceable or coverage under such policy is valid or collectible, for any loss or claim
               which would otherwise have been payable under this policy, we shall not contribute any
               amount toward the damages for such loss or claim.”

       Accordingly, the existence of the indemnification agreement by Coastal Towing in the MTCA and

the requirement of insurance coverage by Coastal Towing’s insurers in favor of Dawn Services and Bisso




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Marine means the policy issued by ASIC will not contribute in any amount towards the damages, loss

and claim of Patrick Knox.


                                            Eleventh Defense


        In the alternative, in the event this Court finds that the undertaking by Dawn Services to engage

Coastal Towing to provide the TRENT JOSEPH and her crew, including Patrick Knox, was to be considered

a watercraft brokerage arrangement, then under the terms and conditions of the policy issued by ASIC,

plead herein, it contained an endorsement entitled WATERCRAFT BROKER’S LIABILITY ENDORSEMENT

which agreed that:


        2.      “We shall pay on your behalf all sums which you, as a watercraft broker, shall become
                obligated to pay for liability imposed upon you by law arising, including claims expenses,
                up to the applicable limits of insurance stated in the declaration out of the hiring and/or
                re-hiring or charter brokerage of….tugs…of Third Parties for a valuable consideration
                paid to you as commissions, brokerage or charter hire.

        4.      This endorsement does not provide insurance coverage for:

                a.      Any liability assumed under contract.

        5.      As a condition precedent to coverage you agree that:

                a.      All watercraft shall be under charter agreement to you.

                b.      All watercraft shall have…….a minimum of $1,000,000 protection and indemnity
                        liability….This insurance shall be carried at the owner’s expense and shall name
                        you as an additional insured and waive all rights of subrogation against you.”

        Should this Court in the alternative find that the undertaking by Dawn Services to engage

Coastal Towing to provide the TRENT JOSEPH and her crew, including Patrick Knox, was to be considered

a watercraft brokerage arrangement, then this policy insurance coverage of ASIC is afforded to Dawn

Services as watercraft broker but it does not provide insurance coverage for any liability assumed under

contract as claimed in this Second Amended and Supplemental Complaint of Bisso Marine.




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        Wherefore, Atlantic Specialty Insurance Company prays, after due proceedings had, that this

Answer be deemed good and sufficient, that this Court enter judgment in its favor and against Bisso

Marine, LLC as follows:


     1) That the Master Time Charter Agreement between Dawn Services and Coastal Towing be

        deemed to be the controlling contract for the relationships between Dawn Services, Bisso

        Marine and Coastal Services;

     2) That pursuant to that Master Time Charter Agreement, Coastal Towing and its underwriters

        were obligated to name Dawn Services and Bisso Marine and their insurers as additional

        assureds and to waive subrogation against them for the claims of Patrick Knox and for the claims

        of Bisso Marine against Dawn Services and its underwriters;

     3) That pursuant to that Master Time Charter Agreement, Coastal Towing and its underwriters

        were obligated to provide primary insurance coverage for Dawn Services and Bisso Marine and

        their insurers for the claims of Patrick Knox and for the claims of Bisso Marine against Dawn

        Services and its underwriters;

     4) That pursuant to that Master Time Charter Agreement, Coastal Towing and its underwriters

        were obligated to defend and indemnify Dawn Services and Bisso Marine and their insurers for

        the claims of Patrick Knox and claims derivative of same including court costs and defense costs

        and attorney fees;

     5) That under the terms of the Master Time Charter Agreement between Dawn Services and

        Coastal Towing read in conjunction with the Marine Comprehensive Liability Policy No.

        B5JH9027513 issued by Atlantic Specialty Insurance Company, the charter of the watercraft

        TRENT JOSEPH required Coastal Towing and its underwriters to name Dawn Services and Bisso

        Marine and their insurers as additional insureds, to waive subrogation, and act as primary




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        insurance coverage for Dawn Services and Bisso Marine and their insurers which excluded

        coverage by the provide the insurance protection outlined hereinabove.

     6) That the insurers of Coastal Towing be found to be primary as to all other insurance issued in

        favor of Dawn Services and Bisso Marine and their insurers and therefore the policy issued by

        Atlantic Specialty Insurance Company is not primary as to coverage in this litigation for the

        claims of Patrick Knox or to pay for the defense and indemnity of Dawn Services and Bisso

        Marine hereunder;

     7) That the existence of the indemnification agreement by Coastal Towing in the Master Time

        Charter Agreement with Dawn Services with its requirements of insurance coverage by Coastal

        Towing’s insurers in favor of Dawn Services and Bisso Marine and their insurers means that

        under the terms and conditions of the Marine Comprehensive Liability Policy No. B5JH9027513

        issued by Atlantic Specialty Insurance Company, it will not contribute in any amount towards the

        damages, loss and claim of Patrick Knox including, but not limited to, the claims of defense and

        indemnity by Bisso Marine;

     8) That, in the alternative, should this Court find that the undertaking by Dawn Services to engage

        Coastal Towing to provide the TRENT JOSEPH and her crew, including Patrick Knox, was to be

        considered a watercraft brokerage arrangement, then the Marine Comprehensive Liability Policy

        No. B5JH9027513 issued by Atlantic Specialty Insurance Company does not provide insurance

        coverage for any liability assumed under contract as claimed against Atlantic Specialty Insurance

        Company by Bisso Marine; and




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     9) For all such other general and equitable relief to which Atlantic Specialty Insurance Company is

        justly entitled.


                                                Respectfully submitted,

                                                s/William B. Schwartz____________________
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